Case 1:21-cv-00561-NRN Document 1 Filed 02/25/21 USDC Colorado Page 1 of 14
Case 1:21-cv-00561-NRN Document 1 Filed 02/25/21 USDC Colorado Page 2 of 14
Case 1:21-cv-00561-NRN Document 1 Filed 02/25/21 USDC Colorado Page 3 of 14
Case 1:21-cv-00561-NRN Document 1 Filed 02/25/21 USDC Colorado Page 4 of 14
Case 1:21-cv-00561-NRN Document 1 Filed 02/25/21 USDC Colorado Page 5 of 14
Case 1:21-cv-00561-NRN Document 1 Filed 02/25/21 USDC Colorado Page 6 of 14
Case 1:21-cv-00561-NRN Document 1 Filed 02/25/21 USDC Colorado Page 7 of 14
Case 1:21-cv-00561-NRN Document 1 Filed 02/25/21 USDC Colorado Page 8 of 14
Case 1:21-cv-00561-NRN Document 1 Filed 02/25/21 USDC Colorado Page 9 of 14
Case 1:21-cv-00561-NRN Document 1 Filed 02/25/21 USDC Colorado Page 10 of 14
Case 1:21-cv-00561-NRN Document 1 Filed 02/25/21 USDC Colorado Page 11 of 14
Case 1:21-cv-00561-NRN Document 1 Filed 02/25/21 USDC Colorado Page 12 of 14
Case 1:21-cv-00561-NRN Document 1 Filed 02/25/21 USDC Colorado Page 13 of 14
Case 1:21-cv-00561-NRN Document 1 Filed 02/25/21 USDC Colorado Page 14 of 14
